                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )       Case No. 10-3029-02-CR-S-GAF
                                             )
CHARLES MICHAEL HALL,                        )
                                             )
                      Defendant.             )

                                            ORDER

       Now pending before the Court is Defendant Charles Michael Hall’s Motion for the Court

to Find Erroneous the Use of Certain Eighth Circuit Pattern Penalty Phase Instructions and

Instead Use Particular, Alternative Instructions (Doc. #212).

       On February 11, 2014, United States Magistrate Judge John T. Maughmer issued his

Report and Recommendation (Doc. #495). On April 21, 2014, Defendant's Objections to the

Report and Recommendation (Doc. #692) were filed.

       Upon careful and independent review of the pending motion, Defendant’s Objections to

the Magistrate's Report and Recommendation, as well as the applicable law, this Court hereby

adopts and incorporates as its own Opinion and Order the Report and Recommendation of

United States Magistrate Judge John T. Maughmer.




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       Accordingly, it is hereby ORDERED that Defendant Charles Michael Hall’s Motion for

the Court to Find Erroneous the Use of Certain Eighth Circuit Pattern Penalty Phase Instructions

and Instead Use Particular Alternative Instructions (Doc. #212) is OVERRULED and DENIED.

       SO ORDERED.

                                                   s/ Gary A. Fenner
                                                   GARY A. FENNER, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: April 22, 2014




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